            Case: 1:18-cv-01197 Doc #: 1 Filed: 05/24/18 1 of 8. PageID #: 1




                        IN THE UNITED STATES DISTRICT COURT

                         FOR THE NORTHERN DISTRICT OF OHIO

                                      EASTERN DIVISION


UNITED STATES OF AMERICA,                        ) CASENO.
                                                 )
                              Plaintiff,         ) JUDGE
                                                 )
               V.                                )
                                                 )
$42,102.00 IN U.S . CURRENCY SEIZED              )
ON DECEMBER 11 , 2017, PURSUANT                  )
TO THE EXECUTION OF A FEDERAL                    )
SEARCH WARRANT,                                  )
                                                 )
                              Defendant.         )


                               COMPLAINT IN FORFEITURE


       NOW COMES plaintiff, the United States of America, by Justin E. Herdman, United

States Attorney for the Northern District of Ohio, and James L. Morford, Assistant U.S.

Attorney, and files this Complaint in Forfeiture, respectfully alleging as follows in accordance

with Supplemental Rule G(2) of the Federal Rules of Civil Procedure:

                           JURISDICTION AND INTRODUCTION

       1.      This Court has subject matter jurisdiction over an action commenced by the

United States under 28 U.S.C . Section 1345, and over an action for forfeiture under 28 U .S.C.

Section 1355(a). This Court also has jurisdiction over this particular action under 18 U.S.C.

Section 981(a)(l)(C).
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          2.      This Court has in rem jurisdiction over the defendant currency pursuant to: (i) 28

U.S.C. Section 1355(b)(l)(A) because acts giving rise to the forfeiture occurred in this district;

and, (ii) 28 U.S.C. Section 1355(b)(l)(B), incorporating 28 U.S.C. Section 1395, because the

action accrued in this district.

          3.      Venue is proper in this district pursuant to: (i) 28 U.S.C. Section 1355(b)(l)(A)

because acts giving rise to the forfeiture occurred in this district; and, (ii) 28 U.S.C. Section 1395

because the action accrued in this district.

          4.      This Court will have control over the defendant currency through service of an

arrest warrant in rem, which the United States Marshals Service will execute upon the defendant

currency. See, Supplemental Rule G(3)(b) and G(3)(c).

          5.      On December 11, 2017, agents of the U.S. Postal Service Office oflnspector

General (USPS OIG)- assisted by Postal Inspectors of the U.S. Postal Inspection Service

(USPIS) - seized the defendant $42,102.00 in U.S. Currency (hereinafter, the defendant

currency) at the East 59th Street, Cleveland, Ohio, residence of Jennifer Riccardi, a postal

service employee. The seizure was made pursuant to the execution of a federal search warrant.

          6.      The defendant currency is now in the custody of the federal government.

          7.      The USPIS commenced an administrative forfeiture proceeding against the

defendant currency. A claim to the defendant currency was submitted in the administrative

forfeiture proceeding by Jennifer Riccardi, thereby requiring the filing of this judicial forfeiture

action.

          8.      The defendant currency is subject to forfeiture to the United States under 18

U.S.C. Section 981(a)(l)(C) in that it constitutes- or is derived from - proceeds traceable to a

violation(s) of 18 U.S.C. Section 1708 (mail theft).



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                                         FORFEITURE

       9.       Jennifer Riccardi was a postal service employee, who worked at the Cleveland

Processing and Distribution Center, located at 2400 Orange Avenue, Cleveland, Ohio.

       10.      On December 7, 2017, at approximately 4:50 p.m., a USPS OIG Special Agent

observed Riccardi remove U.S. mail from her assigned work area - placing the items in her

personal bag - and go on her lunch break. Riccardi was observed leaving her work area at

approximately 5:00 p.m. and head directly to the employee entrance/exit, where she used her

USPS employee badge to exit the building.

       11.      On December 11 , 2017, beginning at approximately 2:00 p.m., USPS OIG agents

again conducted surveillance of Riccardi. OIG agents observed Riccardi remove mail -

particularly, two large bundles of processed letter mail - from her assigned work machine and

place it into a soft-sided cooler/lunch bag. OIG agents also observed Riccardi place an

additional bundle of processed letter mail into a soft-sided shoulder bag.

       12.      At approximately 5:00 p.m. , OIG agents observed Riccardi leave her work area

and exit the building through the employee entrance/exit located on Broadway Avenue. Riccardi

departed the par~ing lot in her personal vehicle. She returned at approximately 5:29 p.m.

       13.      OIG agents approached Riccardi as she was exiting her vehicle and identified

themselves to her. The agents advised Riccardi that they wanted to speak with her inside the

building.

       14.      At the outset of the interview, the OIG agents identified themselves and read an

advisement of rights form to Riccardi. She stated that she understood her rights, initialed and

signed the form, and agreed to speak to the agents. Among other things, the following transpired

during the interview:



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a.)      Riccardi stated that she has been a postal service employee for the past two years,
         beginning in October or November of 2015, and that she has always been
         assigned to the Cleveland Processing and Distribution Center as a postal support
         employee/clerk.

b.)      Riccardi stated her lunch break is always at 5:00 p.m.

c.)      Riccardi stated her primary duty is working on the machines that get raw
         incoming collection mail from the loading docks. The mail then flows through
         her machine, which cancels the stamps and sorts the mail. The machines break
         down the processed mail into 12 separate "bins", which include Cleveland,
         Akron, Toledo, Cincinnati, Columbus, Pennsylvania, and "orange mail" (i.e.,
         bills).

d.)      Riccardi was told that OIG agents witnessed her take mail she processed that
         evening and place it inside her cooler/lunch bag.

e.)      Further, Riccardi was shown a video clip taken that evening that showed her
         placing a thick stack of mail inside her cooler/lunch bag.

f.)      Riccardi was asked to explain what was going on. She stated that she began
         stealing mail around Thanksgiving of 2017. She knew people (customers) send
         cash and gift cards through the mail.

g.)      Riccardi was asked what she did with the mail she stole that day. She stated that
         she took it home during her lunch break. Riccardi said she put the stolen mail in
         her cooler/lunch bag and her shoulder bag prior to leaving the building for her
         lunch break. She further stated that she stole all greeting cards, looking for cash
         and gift cards.

h.)      Riccardi stated that she has stolen, at the most, 20-25 pieces of mail in any given
         shift, because that is all she could fit inside her bag.

i.)      Riccardi was asked how many pieces she stole on Thursday, December 7, 2017.
         She stated that she stole approximately 20 greeting cards.

j.)      Riccardi stated that if she finds checks, she throws them out.

k.)      Riccardi stated that she usually puts the stolen mail pieces in a plastic bag when
         she is done going through it, then throws it away at a gas station, usually the BP
         gas station by her house.

1.)      Riccardi stated that the house she currently lives in is her boyfriend's house. Her
         boyfriend's mother owns the house, but she [the mother] does not live there.




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       m.)       Riccardi stated that she snorts heroin, but not when she went home that evening
                 during her lunch break.

       n.)       Riccardi stated that there are a couple grams of heroin in a plastic baggie in the
                 living room and a gun on top of the refrigerator.

       o.)       Riccardi was asked if she had any gift cards on her that she had stolen from the
                 mail. Riccardi removed her wallet and produced three Visa gift cards and one
                 Marathon gift card. Riccardi stated that she stole them from the mail the prior
                 week.

       p.)       Riccardi stated that she has stolen Target gift cards, but has not used them. She
                 said she would sell the Target gift cards to people on the streets and that a lot of
                 people will give you 50 cents on the dollar for the cards.

       q.)       Riccardi then admitted that she probably began stealing in August of 2017, and
                 not Thanksgiving of 2017.

       r.)       Riccardi said sometimes she bums (previously stolen mail), and sometimes she
                 just throws it away.

     ' 15.       During the interview, Riccardi was asked if she would consent to a search of her

vehicle. Riccardi consented to the search and signed a Consent to Search form for the vehicle,

which was parked in the employee lot.

        16.      A search ofRiccardi's vehicle was conducted and Macy gift card backers,

Subway gift cards, and miscellaneous receipts were recovered.

        17.      Receipts from Subway showed gift card redemptions made on August 23 , 2017

and December 1, 2017.

        18.      Another receipt found inside Riccardi ' s vehicle was from the store The Gift Card

Loop. The receipt was dated December 23, 2016, and showed the sale of numerous gift cards to

the store for a cash payout.

        19.      At approximately 11 :53 p.m. on December 11 , 2017, OIG agents and USPIS

Postal Inspectors executed a federal search warrant at Riccardi ' s East 59th Street, Cleveland,




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Ohio, residence. Among other things, the following items were seized from the following

locations:

       A.       Kitchen:

                (i)       Bersa BP9CC 9mm semi-automatic handgun, serial number D57968,
                          loaded with one magazine.

       B.       Family Room:

                (i)       80 pieces of first class U.S. mail (sealed).

                (ii)      28 pieces of first class U.S . mail (opened/rifled).

                (iii)     2 - $180.00 U.S. Postal Service money orders.

                (iv)      352 gift cards (various retailers/restaurants).

                (v)       2 gift certificates.

                (vi)      $8,967.00 in U.S. Currency.

                (vii)     various types and amounts of drug paraphernalia (syringes, razor blades,
                          straws, bottle caps with drug residue) .

       C.       Office:

                (i)       1,147 gift cards (various retailers/restaurants).

       D.       Kitchen Storage:

                (i)       $33 ,135.00 in U.S. Currency.

                (ii)      3 miscellaneous gift cards.

                (iii)     money counter (in box) with receipt.

       E.       Second Level Loft:

                (i)       4 spoons with residue.

                (ii)      2 personal checks in other persons' names.

                (iii)     mortar and pestle with residue.



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        20.      The defendant $42,102.00 in this case is the total of the $8,967.00 U.S. Currency

seized from the family room of the residence [paragraph 19(B)(vi)] and the $33 ,135.00 U.S.

Currency seized from the kitchen storage area [paragraph 19(D)(i)] .

                                          CONCLUSION

       21.       By reason of the foregoing, the defendant $42,102.00 in U.S. Currency is subject

to forfeiture to the United States under 18 U.S.C. § 981(a)(l)(C) in that it constitutes - or is

derived from - proceeds traceable to a violation(s) of 18 U.S.C. § 1708 (mail theft).

       WHEREFORE, plaintiff, the United States of America, requests that this Court enter

judgment condemning the defendant currency and forfeiting it to the United States, and

providing that the defendant currency be delivered into the custody of the United States for

disposition according to law, and for such other relief as this Court may deem proper.

                                                       Respectfully submitted,

                                                       Justin E. Herdman
                                                       U.S. Attorney, Northern District of Ohio



                                               By:



                                                      801 West Superior Avenue, Suite 400
                                                      Cleveland, Ohio 44113
                                                      216.622.3743 I Fax: 216.522.7499
                                                      J ames.Morford@usdoj.gov




                                                  7
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                                        VERIFICATION


STATE OF OHIO      )
                   ) SS .
COUNTY OF CUYAHOGA )


       I, James L. Morford, under penalty of perjury, depose and say that I am an Assistant

United States Attorney for the Northern District of Ohio, and the attorney for the plaintiff in the

within entitled action. The foregoing Complaint in Forfeiture is based upon info1mation

officially provided to me and, to my knowledge and belief, is true and correct.




       Sworn to and subscribed in my presence this 15th day of May, 2018.




                                                      Notary Public
                                                               DANIEL R. RANKE, Attorney At Law
                                                                   Notary Public • State of Ohld
                                                              My commission has no expiration ilate.
                                                                     Section 147.03 O. R. C.




                                                 8
                                        Case: 1:18-cv-01197 Doc #: 1-1 Filed: 05/24/18 1 of 2. PageID #: 9
    JS 44 (Rev. 06/ 17)                                                              CIVIL COVER SHEET
    The JS 44 civi l cover s hee t and the information contained herein nei the r replace nor s u pplement the fi ling and s ervice of p leadings or o th e r papers as required b y law, e x cept as
    provided by loca l rul es of cou rt. This fonn , approved by the Judic ial Conferen ce of th e U nited States in September 1974, is required fo r the use of the Clerk of Court for the
    purpose of initia ting the civil docket sheet. (SEE INSTRUC710NS ON NEXT PAGE OF THIS FORM.)

    I. (a) PLAINTIFFS                                                                                                     DEFENDANTS
    United States of America                                                                                           $42 ,102.00 in U.S. Currency seized on December 11 , 2017, pursuant
                                                                                                                       to the execution of a federal search warrant.
       (b)      Co unty of Residence of First Listed P lai nti ff                                                        Co unty of Residence of First Li sted Defe ndant Cu aho a Count
                                        (EYCEPT IN U.S. Pl.,A /NTIFFCASES)                                                                             (IN U.S. l'/.,A /NTIFF CASES ONLY)
                                                                                                                         NOTE :      IN LA ND CO DEMN ATION CAS ES, USE THE LOCATIO N OF
                                                                                                                                     THE TRACT OF LAND IN VOLVED.


       (C)      Attorney s (Firm Name, Address, and Telephone Number)                                                     A ttomeys (If Known)


    James L. Morford, Assistant U.S. Attorney - 400 U.S. Court House,
    801 West Superior Avenue, Cleveland , Ohio 44113 - 216.622 .3743

II. BASIS OF JURISD[CTION (Ptace an "X" in One Box OntyJ                                                  Ill. CITIZENSHIP OF PRINCIPAL                                 PARTIES (l'!ace an "X" in OneBoxfor P/ai/11iff
                                                                                                                    (For Di,•ersity Cases Only)                                           and One Box/or Defendant)
~I            U.S. Government                   03   Federal Question                                                                          PTF        DEF                                           PTF       DEF
                 Plain1iff                             (U.S. Govemme/11 Not a Party)                           Citizen ofll1is State           O I         O         Incorporated or Principal Place      O 4     0 4
                                                                                                                                                                       of Business In 1l1is State

0 2           U.S. Govemment                    04   Di versity                                                Citizen of Another State          0 2       0     2   Incorporated and Principal Place         0 5      0 5
                Defendant                              (!11dicate Citizenship of Parties in Item Ill)                                                                   of Business In Another State

                                                                                                               Citizen or Subject of a           0 3       0     3   Foreign Nation                           0 6      0 6
                                                                                                                 Forei n Coun
    IV NATURE OF SUIT (Place an                        "X" i11 One Box Only)                                                                                CJ"IC k here fior: Nature o rs Ult c o de Descnot1ons.
I                CONTRACT                                             TORTS                                       FORFEITURE/PENALTY                            BANKRUPTCY                        OTHER STATUTES               I
0      11 0 Insurance                           PERSONAL INJU RY                   PERSONAL I J RY             0 625 Drug Related Seizure            0 422 Appea l 28 US C 158              0 375 False C laims Act
0      120  Marine                          0   3 10 Airplane                 0    365 Personal Injury -             of Propeny 21 USC 88 1          0 423 Withdrawal                         376 Qui Tam (31 USC
0      130  Miller Act                      0   3 15 Airpl ane Product                   Product Liability     ~ 690 Otl1er                                28 USC 157                              3729(a))
0      140  Negotiable lnstnunent                     Liabi li ty             0    367 Health Care/                                                                                         0 400 State Reapportionment
0      150  Recovery of Overpayment         0   320 Assau lt , Libel &                  Phannaceutical                                                 PROPFRTV Rlr;HTS                     0 410 Antitrust
           & En forcement of Judgment                 Slander                           Personal Injury                                              0 820 Copyrights                       0 430 Banks and Banking
0      15 1 Medicare Act                    0   330 Federal Employers'                  Product Liability                                            0 830 Patent                           0 450 Commerce
0      152 Recovery of Defaulted                      Liability               0    368 Asbestos Personal                                             0 835 Patent - Abbreviated             0 460 Deportation
           Student Loans                    0   340 Marine                               Injury Product                                                     New Drug Application            0 470 Racketeer Infl uenced and
           (Excludes Veterans)              0   345 Marine Product                      Liability                                                    0 840 Trademark                               Com ,pt Organizations
0      153 Recovery of Overpayment
           of Veteran ·s Benefits           0
                                                      Liability
                                                350 Motor Vehicle             0
                                                                                  PERSONAL PROPERTY
                                                                                   370 Other Fraud
                                                                                                                             LABOR
                                                                                                               0 7 10 Fair Labor Standards
                                                                                                                                                       "   ..Al, SE ~,rvlTY
                                                                                                                                                     0 86 1 HIA ( 1395ft)
                                                                                                                                                                                            0 480 Consumer Credit
                                                                                                                                                                                            0 490 Cable/Sat TV
0      160 Stockholders' Suits              0   355 Motor Vehicle             0    37 1 Truth in Lending               Act                           0 862 Black Lw1g (923)                 0 850 Securities/Commodities/
0      190 Otl1er Contract                           Product Liabili ty       0    380 Other Personal          0 720 Labor/M anagement               0 863 DIWC/D IWW (405(g))                     Exchange
0      195 Contract Product Liability       0   360 Other Personal                      Propeny Damage                 Re lati ons                   0 864 SSID Title XV I                  0 890 Other Statutory Acti ons
0      196 Franchise                                 Injury                   0    385 Propeny Damage          0 740 Rai lway Labor Act              0 865 RS I (405(g))                    0 89 1 Ai,>ricultural Acts
                                            0   362 Personal Injury -                   Product Liability      0 751 Family and Medical                                                     0 893 Enviromnental Matters
                                                     Medical Maloractice                                               Leave Act                                                            0 895 Freedom oflnfonnati on
I          REAL PROPERTY                          CIVIL RJGHTS                 PRISONER PET ITIONS             0 790 Other Labor Litigation            FEDERAL TAX SUITS                           Ac t
 0    2 10 Land Condemnation                0   440 Other Civi l Rights         Habeas Co rpus:                0 79 1 Employee Retirement            0 870 Taxes (U.S. Plaintiff            0 896 Arbitration
 0    220 Foreclosure                       0   44 1 Voting                   0 463 Alien Detainee                    Income Security Act                   or Defendant)                   0 899 Admini strati ve Procedure
 0    230 Rent Lease & Ejectment            0   442 Employment                0 5 10 Motions to Vacate                                               0 87 1 IRS- ThirdPany                        Act/Review or Appeal of
 0    240 Torts to Land                     0   443 Housing/                         Senten ce                                                              26 US C 7609                          Agency Decision
 0    245 Tort Product Liabili ty                    Accommodations           0 530 General                                                                                                 0 950 Constitutionality of
 0    290 All Other Real Propeny            0   445 Amer. w/Disabilities -    0 535 Death Penalty                    IMMIGRATION                                                                  State Statutes
                                                     Employment                 Other:                         0 462 Naturali zati on Application
                                            0   446 Amer. w/Disabilities -    0 540 Mandamus & Ot her          0 465 Other Immigration
                                                     Other                    0 550 Ci vil Rights                    Actions
                                            0   448 Education                 0 555 Prison Condition
                                                                              0 560 Ci vil Detainee -
                                                                                     Condi tions o f
                                                                                     Confinement

V. ORIGIN               (Placean "X"i11 0neBox 0 11/y)
~ I           Origina l         O   2   Rem oved fro m            0    3     R e m a nded fro m         0 4    Reinstated or       0 5    Transferred from           0 6      Multidistri ct         0 8   Multidis trict
              Proceedin g               S tate Co urt                        Appe ll ate Court                 Reopened                   Anoth er Di stric t                 Li ti gati o n -             Litigation -
                                                                                                                                          (specify)                           Transfer                     Direct Fi le
                                                 Cite the U .S . Civi l Statute under w hi c h you a re filing (Do 1101 citej11risdictiom1/ statutes 1111/ess ,fi,,ersity):

VI. CAUSE OF ACTION 1 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                                 Brief description of caus e:
                                                  civil forfe iture action under 18 U.S.C. Section 981 a 1 C .
VII. REQ UESTE D IN   0                               C H ECK IF TH IS IS A CLASS ACT IO                          DEMA D S                                       CHECK YES only if demanded in compla int :
     COMPLAINT:                                       UNDER RULE 23 , F .R Cv .P .                                                                               JURY DEMAND:                    0 Yes        ONo

VIII. RELATED CASE(S)
                                                     (See instnictiom):
      IFANY
DATE
05/24/2018
    FOR OFFICE USE ONLY

      RECEIPT #                         AMO UN T                                                                                                                              MAG. JUDG E
                         Case: 1:18-cv-01197 Doc #: 1-1 Filed: 05/24/18 2 of 2. PageID #: 10

                                            UNITED STA TES DISTRICT COURT
                                             NORTHERN DISTRICT OF OHIO

I.                  Civil Categories : (Please check one category only).


                    1.   0           General Civil
                    2.   D           Administrative Review/Social Security
                    3.   LJ          Habeas Corpus Death Penalty
        *If under Title 28, §2255, name the SENTENCING JUDGE:

                                                    CASE NUMBER:
11.     RELATED OR REFILED CASES . See LR 3.1 which provides in pertinent part: "If an action is filed or removed to this Court
        and assigned to a District Judge after which it is discontinued, dismissed or remanded to a State court, and
        subsequently refiled, it shall be assigned to the same Judge who received the initial case assignment without regardfor
        the place of holding court in which the case was refiled. Counsel or a party without counsel shall be responsible for
        bringing such cases to the attention of the Court by responding to the questions included on the Civil Cover Sheet."

        This action is    O    RELATED to another PENDING civil case. This action is       D     REFILED pursuant to LR 3.1 .

If applicable, please indicate on page 1 in section VIII, the name of the Judge and case number.


Ill.    In accordance with Local Civil Rule 3.8, actions involving counties in the Eastern Division shall be filed at any of the
        divisional offices therein . Actions involving counties in the Western Division shall be filed at the Toledo office . For the
        purpose of determining the proper division, and for statistical reasons, the following information is requested.

        ANSWER ONE PARAGRAPH ONLY. ANSWER PARAGRAPHS 1 THRU 3 IN ORDER. UPON FINDING WHICH
        PARAGRAPH APPLIES TO YOUR CASE, ANSWER IT AND STOP.

        (1)    Resident defendant. If the defendant resides in a county within this district, please set forth the name of such
        county
        COUNTY: Cuyahoga County
        Corooration For the purpose of answering the above, a corporation is deemed to be a resident of that county in which
        it has its principal place of business in that district.

        (2)    Non-Resident defendant. If no defendant is a resident of a county in this district, please set forth the county
               wherein the cause of action arose or the event complained of occurred.
        COUNTY:

        (3)    Other Cases. If no defendant is a resident of this district, or if the defendant is a corporation not having a principle
               place of business within the district, and the cause of action arose or the event complained of occurred outside
              this district, please set forth the county of the plaintiffs residence.
        COUNTY:

IV.     The Counties in the Northern District of Ohio are divided into divisions as shown below. After the county is
        determined in Section Ill, please check the appropriate division.

        EASTERN DIVISION

              D
              [Z)
                    AKRON
                    CLEVELAND
                                              (Counties: Carroll, Holmes, Portage, Stark, Summit, Tuscarawas and Wayne)
                                              (Counties: Ashland, Ashtabula, Crawford, Cuyahoga, Geauga, Lake,
                                                         Lorain, Medina and Richland)
              LJ    YOUNGSTOWN                (Counties: Columbiana, Mahoning and Trumbull)

        WESTERN DIVISION


              D     TOLEDO                    (Counties: Allen, Auglaize, Defiance, Erie, Fulton, Hancock, Hardin, Henry,
                                               Huron, Lucas, Marion, Mercer, Ottawa, Paulding, Putnam, Sandusky, Seneca
                                               Vanwert, Williams, Wood and Wyandot)
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                       IN THE UNITED STATES DISTRICT COURT

                        FOR THE NORTHERN DISTRICT OF OHIO

                                     EASTERN DIVISION


UNITED STATES OF AMERICA,                       ) CASE NO.
                                                )
                             Plaintiff,         )
                                                ) JUDGE
               V.                               )
                                                )
$42,102.00 IN U.S. CURRENCY SEIZED              )
ON DECEMBER 11, 2017, PURSUANT                  )
TO THE EXECUTION OF A FEDERAL                   )
SEARCH WARRANT,                                 )
                                                )
                             Defendant.         ) PRAECIPE

       The United States of America respectfully requests that the Clerk of this Court issue the

attached Warrant of Arrest in Rem to the United States Marshals Service (USMS) pursuant to

Rule G(3)(b)(i) of the Supplemental Rules for Admiralty or Maritime Claims and Asset

Forfeiture Actions.

                                                    Respectfully submitted,




                                             By:



                                                           st Superior A venue, Suite 400
                                                    Cl eland, Ohio 44113
                                                    216.622.3743 I Fax: 216.522.7499
                                                    James.Morford@usdoj.gov
               Case: 1:18-cv-01197 Doc #: 1-3 Filed: 05/24/18 1 of 1. PageID #: 12




                  mlntteb ~tates !JBtstrtct qcourt
                                      NORTHERN DISTRICT OF OHIO

                                                                                    WARRANT OF
                                                                                   ARREST IN REM


TO:     THE UNITED STATES MARSHAL AND/OR ANY OTHER DULY AUTHORlZED LAW
        ENFORCEMENT OFFICER:

         WHEREAS, on May24,2018                 a                Complaint in Forfeiture
was filed in this Cou1t by Justin E. Herdman, United States Attorney for this District, on behalf of the United
States, against:

           $42, l 02.00 in U.S. Currency seized on December 11 , 2017, pursuant to the execution of a federal search
           warrant

           (CATS Asset ID No.: 18-UPS-000679)

         and WHEREAS, the defendant currency is currently in the possession, custody, or control of the United
States; and,

        WHEREAS, Rule G(3)(b)(i) of the Supplemental Rules for Admiralty or Maritime Claims and Asset
Forfeiture Actions directs the Clerk of the Comt to issue a Warrant of Arrest In Rem for the arrest of the
defendant currency; and,

        WHEREAS, Rule G(3)(c) of the Supplemental Rules for Admiralty or Maritime Claims and Asset
Forfeiture Actions provides that the Warrant of Arrest In Rem must be delivered to a person or organization
authorized to execute it;

        YOU ARE COMMANDED to arrest the defendant currency by serving a copy of this warrant on the
custodian in whose possession, custody, or control the currency is presently found , and to use whatever means may
be appropriate to protect and maintain it in your custody until further order of this Court.

        YOU ARE FURTHER COMMANDED to file the same in this Court with your return thereon.


  WITNESS THE HONORABLE                                        UNITED STATES DI STR ICT JU DGE AT



DATE                         CLERK

May 24, 2018

                             (BY) DEPUTY CLERK




                                      Returnable    -60-      days after issue.
                                     UNITED STATES MARSHALS SERVICE
DISTRICT                                                     DATE RECE IVED                    DATE EXECUTED



U.S. MARS HA L
       USM-285 is aCase:   1:18-cv-01197
                    5-part form.               Docand
                                 Fill out the form #: 1-4
                                                      printFiled: 05/24/18
                                                           5 copies.          1 of 1.and
                                                                     Sign as needed   PageID    #:specified
                                                                                         route as  13       below.

  U.S. Department of Justice                                                              PROCESS RECEIPT AND RETURN
  United States Marshal s Service                                                         See "Instructions for Service o f Process by U.S. Marshal"

   PLAfNTIFF                                                                                                            COURT CASE NUMBER
  United States of America
   DEFENDANT                                                                                                            TYPE OF PROCESS
  $42, 102 .00 U.S. Currency Seized on December 11 , 2017                                                               Warrant of Arrest in Rem
                        NAME OF INDIVIDUAL, COMPANY, CORPORATION . ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SE IZE OR CONDEMN

       SERVE $42, 102.00 U.S. Currency Seized on December 11 , 2017 (CATS Asset ID No.: 18-UPS-000679).
          AT { ADDRESS (Street or RFD, Apartment No., City, Sta te and ZIP Code)

   SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW                                               Number of process to be
                                                                                                                    served with this Form 285

                 G:1es L. Morford, Assistant U.S. Attorney
                                                                                                                    Number of parties to be
                 Office of the United States Attorney, Northern District of Ohio                                    served in this case
                 Carl B. Stokes U.S. Court House, 80 1 West Superior Avenue, Suite 400
                 Cleveland, Ohio 44113 - office: 216.622.3743
                                                                                                                    Check for service
                 L                                                                                                  on U.S.A.


       SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EX PEDITING SERV ICE (Include Business mu! A ltemate Addresses.
       All Teleplio11e Numbers, amt Estimated Times Available for Service):
Fold                                                                                                                                                                    Fold

       $42, 102.00 U.S. Currency seized on December 11 , 2017, pursuant to the execution of a federa l search warrant (CATS Asset ID
       No.: l 8-UPS-000679).




                                                                                                                 TELEPHONE NUMBER                  DATE

                                                                                                                 216.622.3743                      5/24/18

                                                                     ARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE
   I acknowledge receipt for the tot                                       Di strict to       Signature of Authorized USMS Deputy or Clerk                 Date
   number of process indicated.                                            Serve
   (Sign only fo r USM 285 if.. re
   than one USM 285 is submilled)                          No.             No. _ _

   I hereby certify and return that I _J have personally served ,LJ have legal evidence of service,    L  have executed as shown in "Remarks", the process described
   on the individual , company, corporation, etc., at the address shown above on the on the individual , company, corporation, etc . shown at the address inserted below.

   I      I hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)
   Name and title of individual served (if not shown above)                                                               _J A person of suitable age and discretion
                                                                                                                               then residing in defendant's usual place
                                                                                                                               of abode
   Address (complete only different than shown above)                                                                      Date                  Time
                                                                                                                                                                    I       am
                                                                                                                                                                    ::::J   p111

                                                                                                                           Signature of U.S. Marshal or Deputy


   Service Fee          Total Mileage Charges    Forwarding Fee        Total Charges          Advance Deposits     Amount owed to U.S. Marshal* or
                        including endeavors)                                                                       (Amount of Refund*)


                                                                                                                                                                  $0.00
   REMARKS :




   PRl:\'T 5 COPI ES:      I. CLERK OF THE COURT                                                                                        PRIOR EDITIONS MAY BE USED
                           2. USMS RECORD
                           3. NOTICE OF SERVICE
                           4. BILLING STATEMENT* : To be returned to the U.S. Marshal with payment,                                                            Form USM-285
                              if any amount is owed. Please remit promptly payable to U.S. Marshal.                                                              Rev . 12/15/80
                           5. ACKNOWLEDGMENT OF RECEIPT                                                                                                       Automated 01 /00
         Case: 1:18-cv-01197 Doc #: 1-5 Filed: 05/24/18 1 of 2. PageID #: 14




                        IN THE UNITED STATES DISTRICT COURT

                         FOR THE NORTHERN DISTRICT OF OHIO

                                      EASTERN DIVISION


UNITED STA TES OF AMERICA,                       ) CASENO.
                                                 )
                              Plaintiff,         ) JUDGE
                                                 )
               V.                                )
                                                 )
$42,102.00 IN U.S . CURRENCY SEIZED              )
ON DECEMBER 11 , 2017, PURSUANT                  )
TO THE EXECUTION OF A FEDERAL                    )
SEARCH WARRANT,                                  )
                                                 )
                              Defendant.         ) NOTICE OF FORFEITURE

To:    Jennifer Riccardi
       4103 East 59th Street
       Cleveland, Ohio 44105

       The above-captioned forfeiture action was filed in U.S. District Court on May 24, 2018.

A copy of the Complaint in Forfeiture is attached. If you (Jennifer Riccardi) claim an interest in

the defendant currency, the following applies.

       Pursuant to Rule G of the Supplemental Rules for Admiralty or Maritime Claims and

Asset Forfeiture Actions, you are required to file with the Court, and serve upon James L.

Morford, plaintiffs attorney, whose address is United States Attorney' s Office, 400 United

States Court House, 801 West Superior Avenue, Cleveland, Ohio 44113, a verified claim to the

defendant cunency within 35 days after your receipt of the complaint. The claim shall contain

the information required by Rule G(5) of the said Supplemental Rules. Additionally, you must
         Case: 1:18-cv-01197 Doc #: 1-5 Filed: 05/24/18 2 of 2. PageID #: 15



file and serve an answer to the complaint, or a motion under Rule 12 of the Federal Rules of

Civil Procedure, within 20 days after the filing of the claim, exclusive of the date of filing . If

you fail to do so, judgment will be taken for the relief demanded in the complaint.

                                                       Respectful! y,

                                                       Justin E. Herdman
                                                       U.S. Attorney, Northern District of Ohio


                                               By:

                                          1s




                                                       801 West Superior Avenue, Suite 400
                                                       Cleveland, Ohio 44113
                                                       216.622.3743 I Fax: 216.522.7499
                                                       J ames.Morford@usdoj .gov




Date: May 24, 2018




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